
464 So.2d 301 (1985)
Olga Marie Stone WATERMEIER
v.
John Joseph WATERMEIER.
No. 85-CC-0234.
Supreme Court of Louisiana.
March 8, 1985.
Denied.
CALOGERO, J., concurs in the denial. The Court of Appeal struck a good compromise in a difficult situation. The courts must simultaneously balance the inconsistent interests of creating an atmosphere where the child will feel that he or she can speak freely (the reasonable preference of the child is in some instances a factor in custody awardsLa.C.C. art. 146(C)(2)(i)), and preserving the rights of both parties to meaningful appellate review.
DENNIS, J., would grant the writ.
